          Case 2:13-cv-20000-RDP Document 2913 Filed 04/25/22 Page 1 of 2                               FILED
                                                                                               2022 Apr-25 PM 12:05
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

                                              }
                                              }
                                              }
IN RE: BLUE CROSS BLUE SHIELD                 }
ANTITRUST LITIGATION                          }       Master File No.: 2:13-CV-20000-RDP
(MDL No.: 2406)                               }
                                              }              This document relates to all cases.
                                              }
                                              }

           ORDER APPROVING SPECIAL MASTER INVOICE FOR PAYMENT

       Before the court is the April 4, 2022 application of Edgar C. Gentle, III, the

Court-Appointed Special Master, for payment for services rendered and expenses incurred from

March 1, 2022 through March 31, 2022 in this matter relating solely to services provided to the

Plaintiffs, and totaling $41,000.00.

       The application was submitted to the court, Plaintiffs’ Liaison Counsel, Interim Lead

Counsel, Local Facilitating Counsel, and the Plaintiffs Steering Committee for the two Plaintiff

Tracks, with the Defendants agreeing that they need not review the invoice, as it will not be

billed to them.

       The application was allowed to lie over for 20 days, so as to allow the court and Plaintiff

leadership to lodge any objections thereto. None have been received by the court or the Special

Master.

       The court has reviewed the application, and finds it to be fair and reasonable.

       The court therefore ORDERS that the Special Master’s application for payment is hereby

approved, with one-half of the billing for common projects, plus the billing that’s specific only to

Subscriber Track projects, or $20,000.00, to be paid by the Subscriber Track and one-half of the

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billing for common projects, plus the billing that’s specific only to Provider Track projects, or

$21,000.00, to be paid by the Provider Track, from their Common Benefit monies.

       The court reserves the power to modify the terms of this order.

       DONE and ORDERED this April 25, 2022.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE




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